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  Mississippi Canyon 252 Vessel
          Evaluation and
     Decontamination Plan


May 6, 2010

APPROVALS

USCG IC:

STATE IC:

IC:
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PURPOSE
This plan serves to identify general guidance procedures to be followed by contractors involved with oil
spill response operations. Because these operations may involve vessels transiting through slicks,
operating within oiled waters or recovery operations, we may assume that response equipment, vessel
hulls, decks, machinery, tanks, piping, deck gear and other areas will be impacted with oil. This plan will
be used for all vessels and support equipment, either contaminated or suspected of being contaminated
with oil, to return to a non‐oiled state.



CONCEPT OVERVIEW
In view of the extensive equipment inventory involved in this response effort, the responsible party will
oversee gross decontamination of equipment and vessels; establish and oversee temporary berthing of
oiled vessels and oversee final decontamination of oil spill response vessels and equipment.
The primary focus of this operation will be to expedite cleanup of oiled response vessels and response
equipment in a safe, organized and efficient manner while minimizing further damage to the
environment and waste generation.
Decontamination is planned to occur in two phases:

    •   Transit vessels may undergo gross decontamination at an offshore cleaning station and final
        decontamination, if necessary, at a designated berth or anchorage.
    •   Response vessels will undergo gross decontamination offshore and final decontamination at a
        designated anchorage or staging area.
    •   All equipment will undergo gross decontamination prior to being transported to a
        decontamination site.
    •   Response Equipment will be transported for decontamination from the work zone to a bermed
        decontamination area for final decontamination.




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SAFETY
All required Personal Protective Equipment (PPE) shall be properly utilized at all times during
decontamination operations. In addition to the normal safe work practices used on scene, when using
high pressure washing systems, full face shields and eye protection shall be utilized and a maintenance
record shall be provided for the equipment.
On‐water decontamination operations shall begin no earlier than one half hour after sunrise, and shall
cease no later than one half hour before sunset. In the event the team leader wishes to operate outside
these parameters they must obtain permission from the designated person at the Unified Command
Post. Shore‐based decontamination of equipment can be conducted on a 24 hour basis with proper
lighting and safety procedures in place.


HEALTH AND SAFETY MANAGEMENT SYSTEM
Incident contractors will have a health and safety management system which, at a minimum, will include
a safe practices program with performance targets (or utilize Company's program). Incident contractors
will communicate the expectation that everyone has an obligation to stop work that is unsafe.
In addition, incident contractors will have a hazard identification and risk assessment process for
completing a daily pre‐job task hazard analysis and/or work permitting system to identify and control
the hazards to an acceptable level. At a minimum, a process for completing daily Job Safety Analysis
(JSA), or Job Safety Environmental Analysis (JSEA), is required to facilitate the daily task hazard analysis.


VESSEL SAFETY CONCERNS
A minimum of one vessel, of adequate horsepower, shall perform the role of safety observer, or for a
vessel representative to observe the operation, if they wish. This vessel is responsible for providing
access to all affected surfaces of the contaminated vessel. Communications between the tug and decon
teams must be in place to provide for the safety of the crew, and to facilitate efficient operations.
In the event the decontamination team leader feels the team cannot safely operate due to weather or
other considerations, they can cease operations and report the circumstances to the designated person
at the Unified Command Post.
AIR MONITORING
Air monitoring may be conducted to address worker health and safety during decontamination
operations. For additional information regarding air monitoring, please reference the CTEH “Air
Sampling and Analysis Plan” available with the Incident Action Plan.




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CONFINED SPACE OPERATIONS
If a tank or space fits the definition of a Confined Space as outlined in Site Safety Plan, a confined space
entry permit and rescue plan will be completed. All entry and standby personnel will be required to
show proof of confined space training and certification in accordance with the BP Safe Practice
requirements.




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METHODOLOGY
DECONTAMINATION OF VESSELS
Decontamination of designated vessels will be completed by removing all spilled product on the hull of
the affected vessel. Upon completion of decontamination by the decontamination team, the team will
allow final inspection by vessel representatives and/or an FOSC Representative. This does not preclude
FOSC Representatives from monitoring the cleaning of the vessel as it occurs.
Gross decontamination of transit vessels will be available offshore. Vessels in need of decontamination
at the Mississippi Canyon Offshore Cleaning Station should contact the station directly on Channel 16.
The Team Leader will make individual arrangements with each vessel requesting to be cleaned.
If environmental conditions exist, prior to commencement of steam cleaning operations, containment
boom will be placed downstream of the vessel. Adsorbent sweep or sorbent materials will be placed
inside the containment boom to collect any residual oil being removed. No detergents or chemicals will
be utilized during the decontamination process unless approved by the Regional Response Team. All
oiled adsorbent material will be bagged and placed in appropriate containers for disposal as per the
approved waste disposal plan. One work boat, pressure washer and crew will go down each side of the
vessel cleaning the oil from bow to stern.
Removed oil will be allowed to float into containment boom and removed, when applicable. Upon
completion of vessel decontamination, each vessel will be inspected and approved by the FOSC
Representative, in accordance with this plan.
No vessel decontamination will be done in the vicinity of water intakes, environmentally sensitive areas
or in areas where the public could be affected. Cleaned vessels must remain in the above location until
the FOSC Representative has inspected and released the vessel for transit upriver.
Pressure washing operations will require a pressure washer (either cold or hot) with a temperature
range up to 220° F and a pressure rating up to 3000 PSI. Every attempt will be exercised to mitigate
noise‐generating equipment by placing it in insulated areas.
Where permissible, decontamination will be completed on all solid surfaces by cold or hot pressure
washing. Non‐permissible areas are locations where worker safety could potentially be endangered,
such as the stern of the vessel while engaged, or if environmental conditions exist that do not allow for
safe operations. Decon team leaders, safety observer assist vessels, the FOSC Representative, or any
other involved parties are required to report any of the above conditions, or others, that do not allow
for safe operations. Once unsafe operations are recognized and reported to a Site Safety Officer,
cleaning operations shall be suspended until conditions change, or if alternate operations are approved
by the Unified Command.




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Where possible, each work area will be pre‐boomed (e.g., to protect Bulkheads, Piles, Rip Rap, etc.) to
contain any free floating oil that enters the water and will be immediately collected using sorbent pads
or mechanical skimming techniques as appropriate.
Preplanning, in order to ensure for the protection of adjacent areas, especially water intake locations
must be the primary focus of the decontamination teams. Floating sorbent materials shall be utilized
where necessary to retain free‐floating oil. These sorbents shall be tended continuously by the on‐scene
response vessels.
It is not anticipated that any confined space entry will be necessary during this operation, but in the
event it is, a Confined Space Entry Permit will be completed for entry into Confined Spaces as defined in
the Site Safety Plan.
All disposable equipment and PPE should be segregated and disposed of according to the approved
disposal plan.

OFFSHORE VESSEL CLEANING
Decontamination of offshore vessels will adhere to the following guidelines and is to occur at one of the
following Vessel Cleaning Stations:
Vessel Cleaning Station 1:       Latitude:       28° 17’ 39.98” N
                                 Longitude:      88° 42’ 20.00” W
Vessel Cleaning Station 2:       Latitude:       28° 48’ 00.00” N
                                 Longitude:      89° 26’ 30.00” W
Vessels requiring cleaning shall contact the Mississippi Canyon Offshore Cleaning Station on Channel 16.
The Team Leader will make individual arrangements with each vessel requesting to be cleaned.
Each vessel will slow to a minimum safe steerage while decon teams, comprised of two vessels, perform
either a water wash or water and surface washing agent wash (if approved by the Regional Response
Team). No containment boom will be deployed, but skimmers will be notified if skimmable oil is
observed.
A third vessel cleaning station will be available between Mile Marker 11 and 17 on the Lower Mississippi
River near Pilottown. The Associated Branch Pilots (Bar Pilots) will provide two vessels to assist in vessel
movement.
Additional guidance and vessel coordination can be provided by the Maritime Transportation System
Recovery Unit or Waterways Management Group. The Maritime Transportation System Recovery Unit
will collect vessel particulars for all vessels requiring decontamination.
LARGE RESPONSE VESSELS
Any vessel larger than 65’ should remain in the water for decontamination. This may vary with
consideration to size and type of vessel.

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The following section is to provide operational guidance for the decontamination of large response and
deep draft vessels that have been impacted by the incident.
Before cleaning begins, a vessel work plan will be developed and a personnel decon station will be
established on the vessel or available on the dock side. The decon station will consist of a minimum
sorbent rug, boot wash tubs, scrub brushes, cleaning solvent, hand wash station with soap, and a barrel
for contaminated PPE.
The ship will remain inside standard contractor containment boom during the decontamination process.
A scaffolding barge will be mobilized to the site and secured alongside the vessel. The scaffolding barge
will be placed inside the containment boom, lined with adsorbent boom and anchored at least 25’ from
the vessels hull to ensure an adequate work area and to reduce the possibility of overspray outside of
the containment area. Containment boom will be monitored and if necessary, removed to reduce
sheening. If weather conditions permit, additional smaller vessels will be used as platforms to facilitate
cleanup operations along the waterline, not to be used in between the vessel and the dock area.
Cleaning oiled hull surfaces will be accomplished by:

Option A
The hull of the vessel will be cleaned with a hot water pressure washer starting from the deck level
working down to the water. Actual pressure washing, will utilize a hot/cold pressure washer with a
temperature range up to 220° F and a pressure rating up to 3000 psi. Every attempt will be exercised to
mitigate overspray to keep all rinsate water inside the bermed area.
All personnel involved in the cleaning operation will wear modified PPE Level D including rain gear,
gloves, rubber boots, hearing protection, eye protection (goggles or face shield) and fall protection
equipment.
Preplanning for protection of adjacent areas shall be accomplished in order to minimize cross
contamination. Floating oil will be minimized with sorbents as necessary to reduce potential loss outside
the containment boom. Floating sorbent materials shall be utilized in natural collection points as
needed to retain free‐floating oil. These sorbents will be tended and replaced as necessary.
Option B
The hull of the vessel will be wiped by hand with cotton rags starting from the deck level working down
to the water. If during decontamination it is found that any method other than water is necessary, the
Team Leader and OSC shall coordinate with the Unified Command to submit a request to the Regional
Response Team, for consideration to use surface washing agents. All oil will be wiped from the hull in
this manner. All efforts will be made to eliminate the cleaning solution from reaching the water.
Personnel involved in this operation will wear modified PPE Level D including raingear, gloves, eye
protection, fall protection equipment and floatation work vest.



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Preplanning for protection of adjacent areas shall be accomplished in order to minimize cross
contamination. Floating oil from sheen‐emanating vessels will be minimized with sorbents as necessary
to reduce potential loss outside the containment boom. Floating sorbent materials shall be utilized in
natural collection points as needed to retain free‐floating oil. These sorbents will be tended and
replaced as necessary.
SMALL RESPONSE VESSELS
The primary decontamination of oil spill response vessels will occur where a travelift or crane capability
is available. Gross decontamination of vessels should occur before they are removed from the water for
complete decontamination.
The hull of the vessel will be wiped by hand with cotton rags. On shore, a citrus‐based cleaning solution
will be used to remove residue oil from the hull. All oil will be wiped from the hull in this manner. All
efforts will be made to eliminate the cleaning solution from reaching the water.
Personnel involved in this operation will wear modified PPE Level D including raingear, gloves, eye
protection, and floatation work vest.
Preplanning for protection of adjacent areas shall be accomplished in order to minimize cross
contamination. Floating oil from sheen‐emanating vessels will be minimized with sorbents as necessary
to reduce potential loss outside the containment boom. Floating sorbent materials shall be utilized in
natural collection points as needed to retain free‐floating oil. These sorbents will be tended and
replaced as necessary.
Each vessel will be placed inside standard contractor containment boom during the decontamination
process. This decontamination zone may utilize a boom anchoring system to prevent the collapse of the
perimeter protection during tidal changes and surges.
A decontamination work plan may be created for each response vessel. These plans may be added as
appendices to this document. Preplanning for protection of adjacent areas shall be accomplished in
order to minimize cross contamination. Floating oil from sheen‐emanating vessels will be minimized
with sorbents as necessary to reduce potential loss outside the containment boom. Floating sorbent
materials shall be utilized in natural collection points as needed to retain free‐floating oil. These
sorbents will be tended and replaced as necessary.
For cleaning, the vessels will be blocked using jack stands and wood cribbing. A decontamination team
will be assigned to the bermed area. Most response vessels require the hull to be washed / wiped to
remove residual oil. Some response vessels may also require cleaning of skimming units, tanks, decks
and other ancillary equipment.
For final decontamination, the cargo tanks aboard response vessels are to be cleaned in compliance with
all State of Louisiana and Federal regulations. All access plates and tank lids will be opened and secured
by contract personnel.


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Retained product will be removed from the cargo tanks. A citrus‐based cleaner may be used on the
surfaces of the cargo tanks to facilitate the cleaning process. Sludges and scale will be removed by
vacuum truck when appropriate or by hand if necessary. The walls and floors of the cargo tanks will be
sprayed with a hot water pressure washer. The ladder way into each tank and the expansion dome will
be cleaned with hot water pressure washers.




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HARD STRUCTURES

Bulkheads/Sea Walls
Every effort will be made to prevent overspray or additional contamination of surrounding areas due to
the decontamination operations. The following procedures will be followed in the decontamination of
bulkheads and sea walls:

   1.       A temporary plywood wall will be erected between the bulkhead/sea wall and the
            surrounding area.
   2.       Hard boom, lined with sausage boom, will be placed at the base of the bulkhead/sea wall.
   3.       A small area of the bulkhead/sea wall will be tested to determine the best technique for
            decontamination. The test will be carefully observed to determine if adjustments are
            necessary to prevent overspray.
   4.       As each area of the bulkhead/sea wall is decontaminated, all soiled sausage boom and other
            materials will be collected and disposed of in an approved manner. Dislodged contaminated
            material will be collected with sorbent pads as necessary. The temporary plywood wall will
            be moved along the bulkhead/seawall and the procedure repeated as necessary.

Floating/fixed dock structures
Every effort will be made to prevent overspray or additional contamination of surrounding areas due to
the decontamination operations. The following procedures will be followed in the decontamination of
floating/fixed dock structures:

   1.       Hard boom, lined with sausage boom, will be placed around the floating/fixed dock
            structure.
   2.       A small area of the floating/fixed dock structure will be tested to determine the best
            technique for decontamination. The test will be carefully observed to determine if
            adjustments are necessary to prevent overspray. In addition, the floatation will be carefully
            examined to prevent damage.
   3.       Particular attention shall be paid to the underside of the floating/fixed dock structure and
            connecting wiring and piping to prevent damage.
   4.       As each area of the floating/fixed dock structure is decontaminated, all soiled sausage boom
            and other materials will be collected and disposed of in an approved manner. Dislodged
            contaminated material will be collected with sorbent pads as necessary.
   5.       The procedures will be repeated as each section of floating/fixed dock structure is
            decontaminated.




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Pilings
Every effort will be made to prevent overspray or additional contamination of surrounding areas due to
the decontamination operations. The following procedures will be followed in the decontamination of
the pilings:

    1.      Hard boom, lined with sausage boom, will be placed around the pilings.
    2.      A small area of the pilings will be tested to determine the best technique for
            decontamination. The test will be carefully observed to determine if adjustments are
            necessary to prevent overspray.
    3.      Particular attention shall be paid to rollers and sliding mechanisms on the pilings that move
            with the tide to insure that they are decontaminated and free of debris.
    4.      As each area of the pilings is decontaminated, all soiled sausage boom and other materials
            will be collected and disposed of in an approved manner. Dislodged contaminated material
            will be collected with sorbent pads as necessary.
    5.      The procedures will be repeated as each section of piling structure is decontaminated

SHORESIDE DECONTAMINATION
CONTAINMENT BOOM & PORTABLE EQUIPMENT
Decontamination areas will be identified for containment boom, oil skimmers and small equipment. A
contractor will position a Shoreline Cleanup Trailer at this location to provide support for consumable
supplies. Personnel involved in this operation will wear modified PPE Level D including raingear, gloves,
eye protection, hearing protection (as necessary), and floatation work vest. An example site plan is
available in Appendix D.

CLEANING PROCESS
A liner (secondary containment) will be placed under each decon pool with the perimeter sufficiently
bermed to allow for wastewater and rainwater evacuation. All wastewater will be pumped to a storage
tank or vacuum truck for disposal. All pumps, hoses and piping will be left in place to facilitate speedy
evacuation of retain. The final disposal of wash water, oiled sorbents and materials will be
accomplished in accordance with the Waste Management Plan.
A citrus‐based cleaning solution may be utilized as a degreaser for ONSHORE decontamination and will
be applied by a sprayer as applicable. Utilizing the citrus based degreaser product, which will not
emulsify the oily water, it is possible to recycle / reclaim the rinsates. Because this cleaning solution is
citrus based it does not leave a petroleum sheen on the equipment after the cleaning process.
Actual pressure washing, if required, will utilize a hot/cold pressure washer with a temperature range up
to 220° F and a pressure rating up to 3000 psi. Every attempt will be exercised to mitigate noise‐
generating equipment by placing it in insulated areas.



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All personnel involved in the cleaning operation will wear modified PPE Level D including rain gear,
gloves, rubber boots, hearing protection (as needed e.g. pressure washer or vacuum truck operations),
and eye protection (goggles or face shield). In addition, any personnel working within the arc of an
overhead crane or travelift will wear a hard hat.
Once the asset has been determined clean to the designated representative standard, the equipment is
transferred to the designated "clean" holding area for immediate return to the owners.




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SURFACE WASHING AGENTS
Any approved use of the surface washing agents listed below shall be performed in accordance with the
“RRT VI Emergency Response Pre‐Approved Guidelines to Decontaminate Vessels and Hard Structures in
Port Areas Using Surface Washing Agents” (January 2003). All information contained in this plan
regarding surface washing agents, and their use for decontamination of vessels is intended for the spot
cleaning of only those vessel surfaces that are completely non‐responsive to water‐based pressure
washing in navigable waterways. The approved technique for application of either of these approved
surface washing agents is to spray the agent onto a cotton rag that must be used to apply the agent to
the contaminated surface area. Furthermore, once surface washing agents have been applied,
additional water shall NOT be used to flush the affected area.
A representative of the Federal On‐Scene Coordinator must be on hand during every stage of surface
washing agent application in order to ensure that the approved application technique is being used and
that the operation is being carried out in a safe and responsible manner. If any negative effects from
application are observed, the use of surface washing agents shall cease immediately until a
determination is made by the FOSC with regards to further use. At no point shall the dispersion of oil by
either of the approved agents be used as a primary means of surface cleansing. At NO point shall
surface washing agents be used for cleaning operations within 2000 yards of any public water intake.
Surface washing agents designated on the Environmental Protection Agency’s National Contingency Plan
Product Schedule may be evaluated for approval (e.g. PES‐51 (Practical Environmental Solutions),
Corexit 9580 (Nalco Energy Services L.P) or similar citrus based cleaning solution) and use during
decontamination operations.
The larger vessels will require a mobile decontamination team to be assigned to its location. A mobile
decon team will be comprised of a minimum of one supervisor, three laborers, an equipment operator
and a designated representative. A vessel specific workplan must be developed for the each to ensure
that skimming equipment, storage tanks, piping systems, deck gear and the vessel hull is cleaned to
agreed‐upon standards. A marine chemist or a shipyard competent person may be utilized to determine
tank entry (if required) and the designated representative will certify cleanliness of affected equipment.




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PERSONNEL DECONTAMINATION
A decontamination plan should be developed and set up before any personnel are allowed to enter
areas where the potential for exposure to hazardous substances exists. Decon is carried out at a series
of stations within the Warm Zone. The ground at each station will be covered with heavy diked PVC
sheets to prevent contamination of the soil. These stations and the procedures at each are as follows:

    •   STATION 1 ‐ Deposit contaminated equipment (tools, containers, etc). Use this station for cool
        down if needed.
    •   STATION 2 ‐ While workers stand in shallow plastic tubs, remove tape, if worn, from gloves and
        boots. Scrub boots, outer gloves and protective clothing with decon solution (detergent in
        water). Rinse with water from hand‐held sprayers as workers step from tubs.
    •   STATION 3 ‐ Remove boots and outer gloves. Deposit in designated containers.
    •   STATION 4 ‐ Remove protective clothing and deposit in designated contianers.
    •   STATION 5 ‐ Wash hands and face with mild soap. Shower as soon as practical.
The plan should be revised whenever the type of personal protective clothing or equipment changes,
the use conditions change, or the chemical hazards are reassessed based on new information.
The decontamination process should consist of a series of procedures performed in a specific sequence.
For chemical protective ensembles, outer, more heavily contaminated items (e.g. outer boots and
gloves) should be decontaminated and removed first, followed by decontamination and removal of
inner, less contaminated items (e.g. jackets and pants). Each procedure should be performed at a
separate station in order to prevent cross contamination in the decontamination line.
Stations should be separated physically to prevent cross contamination and should be arranged in order
of decreasing contamination, preferably in a straight line. Separate flow patterns and stations should be
provided to isolate workers from different contamination zones containing incompatible wastes. Entry
and exit points to exposed areas should be conspicuously marked. Dressing stations for entry to the
decontamination area should be separate from redressing areas for exit from the decontamination area.
Personnel who wish to enter clean areas of the decontamination facility, such as locker rooms, should
be completely decontaminated.
All equipment used for decontamination must be decontaminated and/or disposed of properly. Buckets,
brushes, clothing, tools, and other contaminated equipment should be collected, placed in containers,
and labeled. Also, all spent solutions and wash water should be collected and disposed of properly.
Clothing that is not completely decontaminated should be placed in plastic bags, pending further
decontamination and/or disposal.
Decontamination of workers who initially come in contact with personnel and equipment leaving
exposure or contamination areas will require more protection from contaminants than decontamination
workers who are assigned to the last station in the decontamination line. In some cases,
decontamination personnel should wear the same levels of protective clothing as workers in the



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exposure or contaminated areas. In other cases, decontamination personnel may be sufficiently
protected by wearing one level lower protection.
EMERGENCY DECONTAMINATION
In addition to routine decontamination procedures, emergency decontamination procedures must be
established. In an emergency, the primary concern is to prevent the loss of life or injury to personnel. If
immediate medical treatment is required to save a life, decontamination should be delayed until the
victim is stabilized. If decontamination can be performed without interfering with essential life‐saving
techniques or first aid, or if a worker has been contaminated with a toxic or corrosive material that
could cause severe injury or loss of life, decontamination should be continued.
The decontamination line and emergency decontamination procedures shall be thoroughly explained by
the Decontamination Group Supervisor/Team Leader in a walkthrough demonstration for all entry
personnel.
If an emergency due to a heat‐related illness develops, protective clothing should be removed from the
victim as soon as possible to reduce the heat stress. During an emergency, provisions must also be made
for protecting medical personnel and disposing of contaminated clothing and equipment.



EQUIPMENT PRIORITY
A priority assessment will be attached to each piece of equipment to ensure a timely flow of equipment
through the cleaning process. The Project Manager will prioritize the spill response equipment to be
cleaned.



EQUIPMENT TAGGING AND TRACKING
 In order to ensure that all equipment is properly accounted for and returned to its proper owner, tag in
/ tag out procedures will be utilized. Equipment will be tagged to document owner information, time of
arrival and any damage that is noted upon arrival.
Equipment that has been decontaminated will be moved to a designated clean area for inspection by an
owner representative. The representative must verify cleanliness, material condition and sign for
custody of the equipment.




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WASTE MANAGEMENT
DISPOSAL
Recovered oil in liquid state will be transferred to storage tanks pending quantification for recovery
efficiency calculations. Ultimate disposal destinations will be dependent on the location of the
decontamination site, available staging areas, approval by BP, and are identified in the Waste
Management Plan.
WASTE SEGREGATION
Solid Waste Disposal
Recovered tank solids are to be placed in storage containers or drums. Solid Waste from cleaning
operations, (rags, PPE, sorbents) will be placed in rolloff boxes for storage and transportation to an
approved disposal facility.
Clean Waste Disposal
All clean waste will be segregated from any contaminated waste (i.e. food wastes, garbage, etc) and is
not to be mixed with any contaminated waste. This waste will be stored in roll off boxes or bins and
marked as such.


WASTE QUANTIFICATION
Waste quantification will be performed to provide a uniform approach prior to final release of oiled
materials or assets used in the response: i.e. boom, boats, skimmers, decon pools, etc.
Liquids: All recovered liquids will be stored in approved tanks or vacuum trucks until transported to an
approved disposal facility. The volume of oil in storage tanks and vacuum trucks will be measured
before tanks are transported from staging for disposal. A manifest should be obtained from the disposal
facility that reflects the volume of oil recovered from the storage tank or vacuum truck.
Solids: The contents of bins containing sorbent materials such as absorbent boom, pads, sweep and
snare will be visually inspected to determine degree of oiling as follows:

   •    A specified number of bags will be extracted randomly from each bin
   •    Each of the bags contents will be inspected visually by the Inspection Team.
   •    Team members agreed on a visual estimate of the amount of oil in ach bag, in the categories of
        “Heavy”, “Medium”, “Light”, and “Not Oiled”
    •   The Team will develop a consensus definition of what the terms, Heavy, Medium, and Light
        represent in terms of average number of gallons per bin of oil
Vegetation: Vegetation and/or wildlife removed in the cleanup operation will be bagged and weighed
separately.

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FINAL Disposal: When quantification is final, the waste may be disposed in accordance with all federal,
State, and Local laws. A copy of the manifest and associated documents may be requested as proof of
disposal.


HOW CLEAN IS CLEAN
As with other areas of response operations, the degree of decontamination or level to which a vessel or
structure is cleaned is a joint determination typically by consultation or negotiation with the response
agencies. This process will normally also include consideration of the degree of difficulty in meeting a
particular cleanliness standard as well as the cost and time involved in achieving that end point.
Determinations will be coordinated with the agencies and the Environmental Unit if necessary to reach
an appropriate cleanup end point.


CERTIFICATE OF DECONTAMINATION
For this incident, a vessel owner’s representative must obtain the State and Coast Guard Verifying
Officer’s final verification of decontamination. In the event of a dispute, the FOSC representative shall
provide final certification of decontamination.
Additionally, the FOSC Representative shall maintain a log capturing the vessels name being
decontaminated, the date and time the operation begins and is completed, and signature by the FOSC
Representative, State, and vessel representative acknowledging completion of the decontamination for
each vessel.




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APPENDIX A: Contractor Recommended Plan List
The following is a list of plans that may be required for Mississippi Canyon 252 Incident response
contractors depending on the operation. This list is based on regulatory requirements, BP requirements,
industry best practices, field experience, and lessons learned.
Contractors involved with the Mississippi Canyon 252 Incident must evaluate all decontamination
activities and all of the jobs and situations encountered in such operations. Please check with your
supervisor, local management, or safety representative for additional site‐specific procedures and
requirements.

PLAN or POLICY
Company Substance Abuse Policy
Confined Space Entry Plan
Confined Space Entry Training Documentation
Crane Operator Certification
Critical Lift Plan
Driving Safety
Drug & Alcohol Supervisor Awareness
Equipment Calibration Evidence
Equipment Inspection Policy/Evidence
Evidence of Qualified Person for Excavations
Fall Protection Equipment Inspection
Fall Protection Policy
Flammable/Combustible Liquids Storage and Handling
Forklift Operator Certification
Ground Disturbance
Hazardous Communication Plan (provide MSDS)
Hearing Conservation/Protection Plan
Heat Stress
Incident Reporting Policy
Lifting and Rigging Plan
Lock out/Tag out plan
Personal Protective Equipment
PPE Policy
Respiratory Protection Plan
Spill Response Plan
Trenching and Shoring Plan




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APPENDIX B: MSDS




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                      MATERIALDocument
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                                               SHEET
                                                                                                                  MSDS No.
                                                                                                                  RS296

                                                         CRUDE OIL                                                Version: 5

                                                                                                                  Rev. Date
                                                                                                                  05/13/2002
 IMPORTANT:        Read this MSDS before handling and disposing of this product and pass this information on to employees,
                   customers, and users of this product.

1.                           PRODUCT and COMPANY IDENTIFICATION
Material Identity                   Crude Oil
Trade Name(s)                       Oriente, Cano Limon, Line 63, Shell-Ventura, SJV Light, Rainbow, West Texas
                                    Inter-Cushing, Peace River-Canadian, Federated Crude-Canadian, Pembina
                                    Crude-Canadian, Forcados, Cabinda, Basrah Light, Basrah, Arab Medium,
                                    Elang Crude, Girassol
Other Name(s)                       Earth Oil, Petroleum Oil, Rock Oil, Zafiro
Chemical Description                This material is a C1 to C50 hydrocarbon liquid which contains approximately
                                    .9 to 2.8 wt% sulfur compounds
Manufacturer’s                      BP West Coast Products LLC                      BP West Coast Products LLC
Address                             Carson Business Unit                            Cherry Point Business Unit
                                    1801 E. Sepulveda Boulevard                     4519 Grandview Road
                                    Carson, California 90749-6210                   Blaine, Washington 98230

Telephone Numbers                   Emergency Health Information:                   1 (800) 447-8735
                                    Emergency Spill Information:                    1 (800) 424-9300 CHEMTREC (USA)
                                    Other Product Information:                      1 (866) 4BP-MSDS
                                                                                    (866-427-6737 Toll Free - North America)
                                                                                    email: bpcares@bp.com



2.                           COMPONENTS and EXPOSURE LIMITS
                                                                                    Exposure Limits
                                                                       ACGIH        OSHA
           1     `CAS No.                                       2                       3
Component                            % Composition By Volume            TLV          PEL      Units        Type
CRUDE OIL, PETROLEUM
             8002-05-9               EQ       100                          N/AP     N/AP
which contains:
BUTANE
                   106-97-8          AP       0.8 to 1                     800      800        pm          TWA
HEXANE (N-HEXANE)
            110-54-3                 AP       0.3 to 1                     50       50         ppm         TWA
                                                                           skin

ISOPENTANE
                   78-78-4           AP       0.3 to 1.5                   N/AP     750        ppm         STEL
                                                                           600      600        ppm         TWA
PENTANE
                   109-66-0          AP       1.5 to 2.5                   N/AP     750        ppm         STEL
                                                                           600      600        ppm         TWA
Other applicable exposure guidelines:
                                                                     (4)
COAL TAR PITCH VOLATILES, AS BENZENE SOLUBLES
             65996-93-2                                                    0.2      0.2        mg/m3       TWA
OIL MIST, MINERAL
              8012-95-1                                                    10       N/AP       mg/m3       STEL
                                                                           5        5          mg/m3       TWA
STODDARD SOLVENT
           8052-41-3                                                       100      100        ppm         TWA

Stoddard Solvent exposure limits are listed as an exposure guideline for hydrocarbon vapors that may be similar
to those derived from crude oil.
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Since specific exposure standards or control limits have not been established for this material, the exposure limits
shown here are suggested as minimum control guidelines.
1                                                          (1)          (2)           (3)           (4)
    Carcinogen displayed after Component Name. Listed by         NTP,         IARC,         OSHA,         Other
2
  See Abbreviations on last page
3
  The OSHA exposure limits were changed in 1993 due to a federal court ruling. ARCO has chosen to list the 1989 OSHA exposure limits in this document as they are generally more
   stringent and therefore more protective than the current exposure limits. (Refer to 29 CFR 1910.1000).




3.                                     HAZARD IDENTIFICATION

IMMEDIATE HAZARDS
DANGER
HIGHLY FLAMMABLE! OSHA/NFPA Class 1B flammable liquid. KEEP AWAY FROM HEAT, SPARKS, AND
OPEN FLAME! CONTAINS PETROLEUM DISTILLATES! Avoid breathing vapors or mists. Use only with
adequate ventilation. If swallowed, do not induce vomiting since aspiration into the lungs may cause chemical
pneumonia. Obtain prompt medical attention.
May cause irritation or more serious skin disorders! May be harmful if inhaled! May cause irritation of the nose,
throat, and lungs, headache, dizziness, drowsiness, loss of coordination, fatigue, nausea and labored breathing.
May cause irregular heartbeats. Avoid prolonged or repeated liquid, mist, and vapor contact with eyes, skin, and
respiratory tract.
Wash hands thoroughly after handling.
Sulfur compounds in this material may decompose to release hydrogen sulfide gas which may accumulate to
potentially lethal concentrations in enclosed air spaces. Vapor concentrations of hydrogen sulfide above 50 ppm,
or prolonged exposure at lower concentrations, may saturate human odor perceptions so that the smell of gas
may not be apparent. DO NOT DEPEND ON THE SENSE OF SMELL TO DETECT HYDROGEN SULFIDE!
Long-term tests show that similar crude oils have produced skin tumors on laboratory animals.
Crude oils contain some polycyclic aromatic hydrocarbons which have been shown to be carcinogenic after
prolonged or repeated skin contact in laboratory animals.


Routes of Exposure                                                            Signs and Symptoms
Inhalation                         Vapors or mists from this material, at concentrations greater than the recommended
   (Primary)                       exposure limits in Section 2, can cause irritation of the nose, throat, and lungs, headache,
                                   dizziness, drowsiness, loss of coordination, fatigue, nausea and labored breathing. Airborne
                                   concentrations above the recommended exposure limits are not anticipated during normal
                                   workplace activities due to the slow evaporation of this material at ambient temperatures.
                                   Exposure to moderate airborne concentrations of hydrogen sulfide (less than 50 ppm) can
                                   result in irritation of the eyes, nose and throat, headache, dizziness, shortness of breath,
                                   nausea and nervousness. Exposure to hydrogen sulfide vapor above 200 ppm may cause
                                   irritation of mucous membranes, inflammation of the lungs, accumulation of fluid in the
                                   lungs, irregular heartbeats, unconsciousness with convulsions or impaired breathing with
                                   suffocation. Exposure to higher concentrations of hydrogen sulfide vapor (above 500 ppm)
                                   may cause rapid death.
Eye Contact                        May cause slight eye irritation.
Skin Contact                       Moderate skin irritation may occur upon short-term exposure.
                                   Exposure to sunlight may increase the degree of skin irritation.
                                   Absorption through the skin may occur and produce toxic effects (see Summary of Chronic
                                   Hazards).
Ingestion                          May cause irritation of the mouth, throat and gastrointestinal tract leading to nausea,
                                   vomiting, diarrhea, and restlessness. May cause headache, dizziness, drowsiness, loss of
                                   coordination, fatigue, nausea and labored breathing.
                                   ASPIRATION HAZARD: Aspiration into the lungs may cause chemical pneumonia. This
                                   material can enter the lungs during swallowing or vomiting and may cause lung inflammation
                                   and damage which in severe cases may be fatal.




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Summary of                  Personnel with preexisting central nervous system (CNS) disease, skin disorders, or chronic
Chronic Hazards             respiratory diseases should be evaluated by an appropriate health professional before
and Special                 exposure to this material.
Health Effects
                            Prolonged/repeated skin exposure, inhalation or ingestion of this material may result in
                            adverse dermal or systemic effects. Avoid prolonged or repeated exposure.
                            May be harmful if absorbed through the skin. Prolonged or repeated contact may create
                            cancer risk, organ damage, and adversely affect reproduction, fetal development and fetal
                            survival. Avoid all skin contact.
                            Neurotoxic effects have been associated with n-hexane, a component of this material. Avoid
                            prolonged or repeated exposure.
                            See Section 11 for Additional Toxicological Information.

4.                              EMERGENCY and FIRST AID

Inhalation                  Immediately remove personnel to area of fresh air. For respiratory distress, give oxygen,
                            rescue breathing, or administer CPR (cardiopulmonary resuscitation) if necessary. Obtain
                            prompt medical attention.
Eye Contact                 Flush eyes with clean, low-pressure water for at least 15 minutes, occasionally lifting the
                            eyelids. If pain or redness persists after flushing, obtain medical attention.
Skin Contact                Immediately remove contaminated clothing. Wash affected skin thoroughly with soap and
                            water. If irritation persists, obtain medical attention.
Ingestion                   Do not induce vomiting since aspiration into the lungs may cause lipoid pneumonia. Obtain
                            prompt medical attention.


Emergency                   See above procedures. Personnel with pre-existing central nervous system disease, skin
Medical                     disorders, chronic respiratory diseases, or impaired liver of kidney function should avoid
Treatment                   exposure to this product.
Procedures


5.                              FIRE and EXPLOSION

Flash Point (Method)* Based on NFPA Petroleum, Crude           AP 20°F to 90°F         NFPA Hazard Rating:
Autoignition Temperature (Method)*                             N/DA                    Health:     2 = Moderate
Flammable Limits (% Vol. in Air*            Lower              AP 1 ++                 Fire:       3 = High
                                            Upper              AP 8                    Reactivity: 0 = Insignificant
                                                   +
* At Normal Atmospheric Temperature and Pressure       Based on NFPA 325               Special:

Fire and                    HIGHLY FLAMMABLE! This material releases flammable vapors at or below ambient
Explosion                   temperatures. When mixed with air in certain proportions and exposed to an ignition source,
Hazards                     these vapors can burn in the open or explode in confined spaces.
                            Flammable vapors may travel long distances along the ground before reaching a point of
                            ignition and flashing back.
                            Open top tanks involved in a fire have a potential for "boil-over" if water or water-in-oil
                            emulsion is at the bottom of the tank. Boil-over may result in a large expulsion of burning oil
                            from the tank, greatly increasing the fire area.

Extinguishing               Foam, Dry chemical, Carbon dioxide (CO2)
Media
                            Water and water fog can cool the fire but may not extinguish the fire.
Special                     For fires involving this material, do not enter any enclosed or confined fire space without
Firefighting                proper protective equipment. This may include self-contained breathing apparatus to protect
Procedures                  against the hazardous effects of combustion products and oxygen deficiencies. Cool tanks
                            and containers exposed to fire with water. If firefighters cannot work upwind to the fire,
                            respiratory protective equipment must be worn unless and until atmospheric monitoring
                            indicates that such protection is not required. Improper use of water and extinguishing
                            media containing water may cause frothing which can spread the fire over a larger area.
                            Water fog or spray are of value for cooling tank shells and surfaces exposed to fire, but may
                            not achieve extinguishment.

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6.                          ACCIDENTAL RELEASE MEASURES

Precautions if           Contain spill, evacuate non-essential personnel, and safely stop flow. On hard surfaces,
Material is Spilled      spilled material may create a slipping hazard. Equip cleanup crews with proper protective
or Released              equipment (as specified in Section 8) and advise of hazards. Clean up by recovering as
                         much spilled or contaminated materials as possible and placing into closed containers.
                         Consult with an environmental professional for the federal, state and local cleanup and
                         reporting requirements for spills and releases.


7.                          HANDLING and STORAGE

Handling,                Store and transport in accordance with all applicable laws. KEEP AWAY FROM HEAT,
Storage and              SPARKS, AND OPEN FLAME! KEEP CONTAINERS CLOSED, PLAINLY LABELED AND
Decontamination          OUT OF CLOSED VEHICLES! Containers should be able to withstand pressures expected
Procedures               from warming orocooling in storage. Ground all drums and transfer vessels when handling.
                         Store in cool (80 F or below), well-ventilated location. All electrical equipment in storage
                         and/or handling areas should be installed in accordance with applicable requirements of the
                         National Electrical Code (NEC).
                         KEEP OUT OF REACH OF CHILDREN!
                         Empty containers retain some liquid and vapor residues, and hazard precautions must be
                         observed when handling empty containers.
                         For determining National Electrical Code (NEC) Hazardous (Classified) location
                         requirements for electrical installations, consider this material Class 1, Group D.


8.                          EXPOSURE CONTROLS/PERSONAL PROTECTION

Engineering              Where possible, use adequate ventilation to keep vapor and mist concentrations of this
Controls                 material below the Occupational Exposure Limits shown in Section 2. Electrical equipment
                         should comply with National Electrical Code (NEC) standards (see Section 7).
Respiratory              Where there is potential for exposure to hydrogen sulfide gas in excess of the permissible
                         exposure limit, a NIOSH/MSHA-approved supplied-air respirator operated in positive
                         pressure mode should be worn.
                         If hydrogen sulfide gas is not present in excess of permissible exposure limits, a
                         NIOSH/MSHA-approved air-purifying respirator with an organic vapor cartridge may be
                         permissible under certain circumstances where airborne concentrations of hydrocarbon
                         vapor may exceed the exposure limits in Section 2. Where work conditions may generate
                         airborne mists of the material, also use a high-efficiency particulate pre-filter. Consult a
                         health and safety professional for guidance in respirator selection. Respirator use should
                         comply with OSHA 29 CFR 910.134.
                         CAUTION: The protection provided by air-purifying respirators is limited. Use a positive
                         pressure air-supplied respirator if there is any potential for an uncontrolled release, if
                         exposure levels are not known, or if concentrations exceed the protection limits of the air-
                         purifying respirator.
Eyes                     Eye protection should be worn. If there is potential for splashing or spraying, chemical
                         protective goggles and/or a face shield should be worn. If contact lenses are worn, consult
                         an eye specialist or a safety professional for additional precautions. Suitable eye wash water
                         should be available in case of eye contact with this material.
Skin                     Avoid all skin contact with this material. If conditions of use present any potential for skin
                         contact, clean and impervious clothing such as gloves, apron, boots, and facial protection
                         should be worn. Neoprene, Nitrile, Butyl Rubber or Viton glove material is recommended.
                         When working around equipment or processes which may create the potential for skin
                         contact, full body coverage should be worn, which consist of impervious boots and oil-
                         resistant coated Tyvek suit or other impervious jacket and pants.
                         Non-impervious clothing which accidentally becomes contaminated with this material should
                         be removed promptly and not reworn until the clothing is washed thoroughly and the
                         contamination is effectively removed. Discard soaked leather goods.


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Other Hygienic           Use good personal hygiene practices. If skin contact should occur, material should be
and Work                 removed from the skin with a waterless hand cleaner, and the affected area should then be
Practices                washed with a mild soap and water. Wash hands and other exposed areas thoroughly
                         before eating, drinking, smoking or using toilet facilities.


9.                         PHYSICAL and CHEMICAL PROPERTIES

Boiling Point:                                           AP -54°F to 1100°F
Viscosity Units, Temp. (Method):                         N/DA
Dry Point:                                               N/AP
Freezing Point:                                          N/DA
Vapor Pressure, Temp. (Method):                          AP 1 to 2 at 100°F (REID-PSIA)
Volatile Characteristics:                                Appreciable
                                       O
Specific Gravity (H2O = 1 @ 39.2 F):                     AP 0.88
                                  O        O
Vapor Sp. Gr. (Air = 1.0 @ 60 F - 90 F):                 N/DA
Solubility in Water:                                     Negligible
PH:                                                      N/AP
Appearance and Odor:                                     Thick light yellow to dark black colored liquid. Petroleum
                                                         hydrocarbon odor.
Other Physical and Chemical Properties:                  Total sulfur = approx. 1.1% - 2.8%
                                                         Hydrogen sulfide content is less than 5 ppm dissolved in
                                                         liquid
                                                         Vanadium = approx. 210 ppm


10.                        STABILITY and REACTIVITY

Stability                             Stable
Hazardous Polymerization              Not expected to occur.
Other Chemical Reactivity             N/AP


Conditions to            Heat, sparks, and open flame.
Avoid
Materials to             Strong acids, alkalis, and oxidizers such as liquid chlorine and oxygen.
Avoid
Hazardous or             Burning or excessive heating may produce carbon monoxide and other harmful gases or
Decomposition            vapors including oxides of sulfur and nitrogen.
Products


11.                        TOXICOLOGICAL INFORMATION

Toxicological            The information found in this section is written for medical, toxicology, occupational health
Information              and safety professionals. This section provides technical information on the toxicity testing
                         of this or similar materials or its components. If clarification of the technical content is
                         needed, consult a professional in the areas of expertise listed above.


Prolonged/               IARC has determined there is "limited evidence for the carcinogenicity in experimental
Repeated                 animals of crude oil" and "inadequate evidence for the carcinogenicity in humans of crude
Exposures                oil." IARC concludes that "crude oil is not classifiable as to its carcinogenicity to humans
                         (Group 3)."
                         Crude oil administered orally to pregnant rats during gestation produced increased number
                         of resorptions and decrease in fetal weight and length.


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                         Exposure to N-hexane at concentrations considerably higher than the current permissible
                         exposure limit has reportedly been associated with peripheral neuropathy.


12.                        ECOLOGICAL INFORMATION

                         Not Available

13.                        DISPOSAL CONSIDERATIONS

Waste Disposal           Maximize recovery for reuse or recycling. Consult environmental professional to determine if
Methods                  state or federal regulations would classify spilled or contaminated materials as a hazardous
                         waste. Use only approved transporters, recyclers, treatment, storage or disposal facilities.
                         Comply with all federal, state and local laws pertaining to waste management.


14.                        TRANSPORT INFORMATION

UN Proper Shipping Name                  Petroleum crude oil
UN Hazard Class                          3
UN Number                                UN1267
UN Packing Group                         PGI


15.                        REGULATORY INFORMATION

SUPERFUND AMENDMENTS AND REAUTHORIZATION ACT OF 1986 (SARA), TITLE III
Section 311/312 Hazard Categories:
Immediate (acute) health hazard
Delayed (chronic) health hazard
Fire hazard
No chemicals in this product exceed the threshold reporting level established by SARA Title III, Section 313 and
40 CFR 372.

TOXIC SUBSTANCES CONTROL ACT (TSCA)
All components of this product are listed on the TSCA Inventory.
COMPREHENSIVE ENVIRONMENTAL RESPONSE, COMPENSATION AND LIABILITY ACT (CERCLA)
This material is covered by CERCLA's PETROLEUM EXEMPTION.
(Refer to 40 CFR 307.14)
CALIFORNIA SAFE DRINKING WATER AND TOXIC ENFORCEMENT ACT OF 1986 - PROPOSITION 65

PROP 65 WARNING LABEL:
Chemicals known to the State to cause cancer, birth defects, or other reproductive harm are found in gasoline,
crude oil, and many other petroleum products and their vapors, or result from their use. Read and follow label
directions and use care when handling or using all petroleum products.
WARNING:
This product contains the following chemical(s) listed by the state of California as known to cause cancer or birth
defects or other reproductive harm.
                                  (C)
MINERAL OILS, UNTREATED
Other Prop 65 chemicals will result under certain conditions from the use of this material. For example, burning
fuels produces combustion products including carbon monoxide, a Prop 65 reproductive toxin.
(C)
      = Carcinogen




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16.                                OTHER INFORMATION

General                       The information and conclusions herein reflect normal operating conditions and may be from
Comments                      sources other than direct test data on the mixture itself.


Abbreviations:        EQ = Equal                         AP = Approximately                N/P = No Applicable Information Found
                      LT = Less Than                     UK = Unknown                      N/AP = Not Applicable
                      GT = Greater Than                  TR = Trace                        N/DA = No Data Available




Prepared by: Product Stewardship


Disclaimer of Liability
The information in this MSDS was obtained from sources which we believe are reliable. HOWEVER, THE INFORMATION IS PROVIDED WITHOUT ANY
WARRANTY, EXPRESS OR IMPLIED, REGARDING ITS CORRECTNESS.

The conditions or methods of handling, storage, use and disposal of the product are beyond our control and may be beyond our knowledge. FOR THIS AND
OTHER REASONS, WE DO NOT ASSUME RESPONSIBILITY AND EXPRESSLY DISCLAIM LIABILITY FOR LOSS DAMAGE OR EXPENSE ARISING OUT OF
OR IN ANY WAY CONNECTED WITH THE HANDLING, STORAGE, USE OR DISPOSAL OF THE PRODUCT.

This MSDS was prepared and is to be used only for this product. If the product is used as a component in another product, this MSDS information may not be
applicable.




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                 MATERIAL SAFETY DATA SHEET ADDENDUM

 Material Identity
     Mississippi Canyon 252 Weathered Crude Oil (Light Sweet Crude)

 Components
         • Low molecular weight, highly volatile components are not present
         • Lowest molecular weight hydrocarbon detected in the whole oil analysis was
           the alkane n-C14
         • Naphthalene, a semi-volatile PAH compound, was not detected
         • More volatile compounds, including benzene, toluene, ethylbenzene, and
           xylenes were also undetected
         • Hydrogen sulfide or sulfur dioxide was not detected in air above weathered
           oil
 Hazards
         • Potential for toxic vapor exposures is very low: with the loss of the highly
           volatile components, weathered oil does not present a flammability or
           inhalation hazard
         • Skin and eye irritant
         • Avoid activities that may aerosolize or create a mist of crude oil during
           cleanup
 Exposure control
         • Nitrile or polyethylene gloves
         • Tyvek suit
         • Safety glasses or goggles
         • Rubber boots
         • Wash hands and skin with soap and water if contact with crude oil
         • Nitrile or polyethylene gloves
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APPENDIX C: Site Specific Decontamination Plans


Site specific decontamination plans are available for the following sites upon request.

ONSHORE:

Venice, LA
Hopedale, LA
Fourchon, LA
Slidell, LA
Grand Isle, LA



OFFSHORE:

Offshore
Pilottown, LA
Rabbit Island, LA




The sites listed above have been identified as suitable locations for vessel decontamination. Should
safety, environmental conditions or logistical concerns arise that would preclude operations at these
sites, additional sites shall be identified and approved by the Unified Command, in order to avoid
interruption to the decontamination process. If the need for alternate locations is necessary, the
methodology for decontamination must remain in accordance with the procedures identified in this
plan.




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APPENDIX D: Example Site Layout




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                                                                                                     110’




                                          WW Treat Skid

                                                          Treatment Frac




                                                                                                                                                          Storm Frac
                                                                                                                                Storm Frac

                                                                                                                                             Storm Frac
                                                                                                                   Storm Frac
                                                                                                      Storm Frac
                                                                                        Storm Frac
                                                                           Clean Frac
                                                                                                                                                                                        40’

                                                                                                                                                                              Trailer

                                                          Truck Decon Area                                                                                                              12’




                          100’                                                                                                                                         150’




                     Boom Staging Area                                                                                                       Boom Decon Area                             100’




                                         Crane way                                                                                                                                      20’


                                         Truck Roadway                                                                                                                                  12’




Example Decontamination Area Layout
